    Case 16-29396-ABA         Doc 50      Filed 10/09/18 Entered 10/09/18 08:52:08        Desc Main
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  JENKINS & CLAYMAN
  Eric J. Clayman
  412 White Horse Pike
                                                                          Order Filed on October 9, 2018
  Audubon, NJ 08106                                                       by Clerk
  (856)546-9696                                                           U.S. Bankruptcy Court
  Attorney for Debtor                                                     District of New Jersey


   In Re:                                                 Case No.: 16-29396 ABA

                                                          Adv. No.:
                         Thomas Johnson
                            Debtor                        Hearing Date: September 18, 2018

                                                          Judge: Andrew B. Altenburg




               ORDER SUSPENDING TRUSTEE AND MORTGAGE
            PAYMENTS AND INCORPORATING MISSED MORTGAGE
                   PAYMENTS INTO CHAPTER 13 PLAN


               The relief set forth on the following page, number two (2), is hereby ORDERED.




DATED: October 9, 2018
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  (Page 2)
  Debtor:             Thomas M. Johnson
  Case No:            16-29396 ABA
  Caption of Order:   Order Suspending Trustee Payments


   Upon consideration of debtor’s motion for an order suspending Trustee payments and

   good cause appearing therefore, it is hereby:


   ORDERED that:

       1.     The debtor’s obligation to pay the Chapter 13 Trustee is hereby suspended

              for the months of September, October and November of 2018.

       2.     The debtor’s obligation to pay his monthly mortgage payments is hereby suspended

              for the months of September, October and November of 2018. However, the debtor

              will make one monthly mortgage payment by the end of October to cure a portion of

              the outstanding post-petition arrears.

       3.     The mortgage holder shall file an amended proof of claim incorporating those three

              months to be paid by the debtor through his chapter 13 plan.

       4.     A modified plan will be filed by November 30, 2018 to address the missed post-

              petition mortgage payments and Trustee payments that will need to be rolled into the

              bankruptcy plan.
